          4:11-cr-03086-JMG-CRZ                       Doc # 129          Filed: 07/06/15               Page 1 of 2 - Page ID # 349
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                           DistrictDistrict
                                                      __________    of Nebraska
                                                                            of __________

                    United States of America
                               v.                                          )
               RUBEN CARRILLO CASTELLON                                    )
                                                                           )    Case No: 4:11CR3086
                                                                           )    USM No: 24353-047
Date of Original Judgment:                            02/02/2012           )
Date of Previous Amended Judgment:                                         )    David R. Stickman
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   87                      months is reduced to 70                                   .
                                             (Complete Parts I and II of Page 2 when motion is granted)




The defendant shall not be released any earlier than November 1, 2015.




Except as otherwise provided, all provisions of the judgment dated                          02/02/2012              shall remain in effect.
IT IS SO ORDERED.

Order Date:                  07/06/2015                                                            s/ John M. Gerrard
                                                                                                         Judge’s signature


Effective Date:              11/01/2015                                           John M. Gerrard, United States District Judge
                     (if different from order date)                                                    Printed name and title
          4:11-cr-03086-JMG-CRZ                      Doc # 129           Filed: 07/06/15               Page 2 of 2 - Page ID # 350
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)     Page 2 of 2 (Page 2 Not for Public Disclosure)

                      This page contains information that should not be filed in court unless under seal.
                                                (Not for Public Disclosure)


                                    RUBEN CARRILLO CASTELLON
DEFENDANT:
CASE NUMBER: 4:11CR3086
DISTRICT:        District of Nebraska


I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Total Offense Level: 29               Amended Total Offense Level: 27
Criminal History Category:    I                Criminal History Category:   I
Previous Guideline Range:     87 to 108 months Amended Guideline Range:     70                                                      to 87         months

II. SENTENCE RELATIVE TO THE AMENDED GUIDELINE RANGE
  ✔
  u The reduced sentence is within the amended guideline range.
  u The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the
    time of sentencing as a result of a substantial assistance departure or Rule 35 reduction, and the reduced sentence
    is comparably less than the amended guideline range.
  u The reduced sentence is above the amended guideline range.

III. ADDITIONAL COMMENTS
  Filing nos. 127 and 128 are granted as provided herein. Filing no. 123 is denied as moot.
